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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                             No.   4:14CR00151-05-JLH

BRITTANY MITCHELL

                                              ORDER

       Before the Court is Defendant Mitchell’s Motion seeking another opportunity to attend an

inpatient rehabilitation program (Doc. No. 86). The government responded in opposition to this

request (Doc. No.88) and Mitchell replied (Doc. No. 91).

       The Court has carefully considered the Request and Response. The Court agrees with the

defense that the Motion is properly before the Court. However, the Court finds the Motion should

be denied.

       Ms. Mitchell was already afforded an opportunity for release to inpatient rehabilitation

treatment at taxpayer expense. Ms. Mitchell squandered this opportunity. Before releasing Ms.

Mitchell on September 25, 2014, the Court explained in great detail the penalties for failing to follow

the Order Setting Conditions of Release (Doc. No. 47). Ms. Mitchell immediately fled from

supervision and failed to report for inpatient treatment - requiring the United States Marshal Service

to hunt her down. Based on her actions, the Court finds Ms. Mitchell is a serious flight risk.

18 U.S.C. § 3142(f)(2). While sympathetic to Ms. Mitchell’s addiction, given the facts of this case,

the Court is not persuaded she will not flee from treatment.

       Accordingly, Defendant’s Motion (Doc. No. 86) is DENIED. Defendant is to remain in the

custody of the United States Marshal.

       IT IS SO ORDERED this 1st day of December, 2014.


                                                       ___________________________________
                                                       JOE J. VOLPE
                                                       UNITED STATES MAGISTRATE JUDGE
